 Case: 1:14-cv-01748 Document #: 2299 Filed: 12/11/17 Page 1 of 3 PageID #:60085
                                                                                                      
                                                                                                      

                       THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

In re: TESTOSTERONE                                   )      Case No. 1:14-CV-01748
REPLACEMENT THERAPY                                   )      MDL No. 2545
PRODUCTS LIABILITY LITIGATION                         )
                                                      )
This document relates to all cases                    )       Honorable Matthew F. Kennelly


       REQUEST BY REPRESENTATIVES OF ELI LILLY DEFENDANTS TO
     PARTICIPATE IN IN CAMERA SETTLEMENT HEARING BY TELEPHONE

       In advance of the MDL Case Management Conference set for December 15, 2017, the Eli

Lilly and Company defendants (“Lilly”) submit this request to participate by telephone in the in

camera settlement-related meeting scheduled for December 15, 2018 pursuant to the Court’s

prior Minute Order. [Docket No. 2271]

       Lilly understands that Christopher Seeger of the Plaintiffs’ Steering Committee will be

participating in this meeting by telephone with the permission of the Court. Lilly requests that

its designated settlement counsel also be permitted to participate by phone so that they may meet

with Mr. Seeger in New York to continue negotiations on December 14 and/or December 15.

Lilly’s settlement counsel can jointly participate by phone with Mr. Seeger on December 15, or

can join an in camera a settlement status meeting at a later date.

       Lilly and PSC settlement representatives have kept the court appointed Settlement Master

informed of the status of their negotiations, and Lilly will be reporting to the Settlement Master

at the conclusion of each negotiation session this week.
 Case: 1:14-cv-01748 Document #: 2299 Filed: 12/11/17 Page 2 of 3 PageID #:60086
                                                                                                     
                                                                                                     

       Based on the foregoing status, Lilly further requests that its corporate representative be

excused from having to personally appear at the December 15 in camera settlement-related

meeting.  



                                                 /s/ David E. Stanley
                                                 David E. Stanley (pro hac vice)
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                                                 Counsel for Defendants, Eli Lilly and Company,
                                                 Lilly USA, LLC, Acrux Commercial Pty Ltd.,
                                                 and Acrux DDS Pty Ltd.
  Case: 1:14-cv-01748 Document #: 2299 Filed: 12/11/17 Page 3 of 3 PageID #:60087
                                                                                                
                                                                                                

                                  CERTIFICATE OF SERVICE


        I, David E. Stanley, hereby certify that on December 11, 2017 the foregoing document

was filed via the Court’s CM/ECF system, which will automatically serve and send email

notification of such filing to all registered attorneys of record.


                                                        /s/ David E. Stanley
